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 1    Mark L. Javitch (CA SBN 323729)
      mark@javitchlawoffice.com
 2
      Javitch Law Office
 3    3 East 3rd Ave. Ste. 200
      San Mateo, CA 94401
 4
      Telephone: (650) 781-8000
 5    Facsimile: (650) 648-0705
 6
      Attorney for Plaintiff
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 8
 9                             UNITED STATES DISTRICT COURT
10                             CENTRAL DISTRICT OF CALIFORNIA
11
12     SHANE SCOFIELD, an individual,                  Case No.: 8:22-cv-01376-DOC-ADS
13                      Plaintiff,
                                                       STIPULATION OF VOLUNTARY
14           v.                                        DISMISSAL WITH PREJUDICE
15     VERCY, L.L.C., a California business
       entity, et. al.,
16
                      Defendants.
17
18          Now Comes Plaintiff SHANE SCOFIELD, in his individual capacity, and
19
      Defendant VERCY, L.L.C., by and through their respective attorneys, and pursuant to
20
21    Rule 41(a)(1)(A)(ii), hereby stipulate to the dismissal of all claims with prejudice, with
22    each side bearing their own costs and attorney’s fees.
23
            Dated: February 28, 2023                Respectfully submitted,
24
25                                           By:    /s/ Mark L. Javitch
26                                                  Mark L. Javitch
27
28
      STIPULATION OF
      VOLUNTARY DISMISSAL                          1                       8:22-cv-01376-DOC-ADS
     Case 8:22-cv-01376-DOC-ADS Document 27 Filed 02/28/23 Page 2 of 3 Page ID #:205




 1                                             Attorneys for Plaintiff
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 3                                       By:   /s/ Brent Phillips
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                                               Attorneys for Defendant
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      STIPULATION OF
      VOLUNTARY DISMISSAL                      2                         8:22-cv-01376-DOC-ADS
     Case 8:22-cv-01376-DOC-ADS Document 27 Filed 02/28/23 Page 3 of 3 Page ID #:206




 1                              Local Rule 5-4.3.4(a)(2)(i) Attestation
 2
 3          Although this stipulation representing more than one electronic signature is being
 4    filed under the ECF/CM login belonging solely to Mark L. Javitch, attorney for Plaintiff,
 5    Local Rule 5-4.3.4(a)(2)(i) permits the filer to attest that concurrence in the filing of the
 6    document has been obtained from each of the other signatories, which shall serve in lieu
 7    of their signatures on the document.
 8
 9          Therefore, in accordance with LR 5-4.3.4(a)(2)(i), I hereby attest that I have
10    received concurrence in the content of this filing or authorization from each signatory
11    shown in this document to use their e-signature for the purposes of filing this document.
12
13          DATED: February 28, 2023                             /s/ Mark L. Javitch
14
                                                                 Mark L. Javitch
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      STIPULATION OF
      VOLUNTARY DISMISSAL                            3                       8:22-cv-01376-DOC-ADS
